      Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 1 of 13                     FILED
                                                                               2015 Jun-03 AM 08:53
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                    NORTHEASTERN DIVISION


BLUEWAVE HEALTHCARE                  )
CONSULTANTS, INC.,                   )
                                     )
                  PLAINTIFF,         )
VS                                   )      CASE NO: 5:15-CV-00884-MHH
                                     )
HEALTH DIAGNOSTIC                    )
LABORATORY, INC.,                    )
                                     )
                  DEFENDANT.         )


                          AMENDED COMPLAINT


     BlueWave Healthcare Consultants, Inc., for Complaint against Health
Diagnostic Laboratory, Inc. states as follows:

1.   BlueWave Healthcare Consultants, Inc. (“BlueWave”), is an Alabama

     corporation with its principal place of business being located in the state of

     Alabama.

2.   Health Diagnostic Laboratory, Inc. (“HDL”) is a Virginia corporation with its

     principal place of business being located in the Commonwealth of Virginia.

     It has and presently does business, directly or through agents, servants,




                                   Page 1 of 13
      Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 2 of 13




     employees or contractors, in Alabama and within the Northeastern Division of

     the Northern District of Alabama.

3.   The amount in controversy exceeds $75,000.00 exclusive of interest, fees and

     costs.

4.   This Court has diversity jurisdiction pursuant to 28 U.S. Code § 1332.

5.   BlueWave and HDL entered into a Sales Agreement, a copy of which is

     attached hereto and incorporated herein by reference, marked as Exhibit “A”.

     Although it was stated to be effective as of January 4, 2010, the parties actually

     executed that agreement a few months after that date, i.e. on or about April 3,

     2010.

6.   Under the Sales Agreement, BlueWave was to promote testing procedures

     performed by HDL. In return, HDL was to compensate BlueWave and the two

     shareholders of Bluewave, Cal Dent (“Dent”) and Brad Johnson (“Johnson”)

     for services rendered by them.

7.   Part of the compensation to be paid by HDL was in the form of a percentage

     commission based on the revenue collected by HDL from sales made in

     Bluewave’s designated territory.

8.   An additional part of the compensation to be paid by HDL was in the form of

     the issuance of stock in HDL to Dent and Johnson, each of whom were to

                                    Page 2 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 3 of 13




      receive 29.4 shares of the outstanding common stock of HDL. In exchange,

      Dent and Johnson agreed to execute a Shareholders Agreement which was

      incorporated into, attached to and made a part of the Sales Agreement. A copy

      of the Shareholders Agreement is attached hereto as Exhibit B.

9.    The Shareholders Agreement contained a noncompetition and nonsolicitation

      provision applicable to the shareholders of HDL. The Sales Agreement and the

      Shareholders Agreement were executed at substantially the same time as part

      of one agreement. Together, the Sales Agreement and the Shareholders

      Agreement constitute one contract (the “Contract”).

10.   HDL has now claimed that the Contract contains a provision that poses a risk

      of violating federal or state laws.

11.   On information and belief, the Contract was drafted or reviewed by the law

      firm of LeClairRyan on behalf of HDL. Any illegality in the contract should

      have been apparent to that firm at the time that the Contract was prepared.

12.   BlueWave, Johnson and Dent actually performed services for HDL.

13.   HDL actually issued stock to Dent and Johnson and paid a portion of the

      monetary compensation that was due to BlueWave under the Contract.

14.   The Sales Agreement provides, in part, that “the provisions of this Agreement

      are severable, and if any one provision is finally determined by a court of

                                     Page 3 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 4 of 13




      competent jurisdiction to be void, unenforceable, or contrary to law or public

      policy, the remainder of this Agreement will remain valid and enforceable. If

      any of the restrictions contained in any paragraphs of this Agreement are found

      to be unenforceable in whole or in part, Contractor [BlueWave] and Company

      [HDL] agree that the restriction or portion therefor should be enforced to the

      fullest extent allowed by law.”

15.   The Sales Agreement further provides that “in the event there is a change in

      such laws, whether by statute, regulation, agency or judicial decision, that has

      any material effect on any term of this Agreement, or in the event that counsel

      to one party determines that any term of this Agreement poses a risk of

      violating such laws, then the applicable term(s) of this Agreement shall be

      subject to renegotiation and either party hereto may request renegotiation of the

      affected term or terms of this Agreement, upon written notice to the other

      party, to remedy such condition. In the interim, both Company and Contractor

      shall perform their obligations in full compliance with applicable law.”

16.   On December 22, 2014, Ropes & Gray, LLP, acting as counsel for HDL

      informed counsel for BlueWave, by letter, of HDL’s position that counsel to

      HDL “has determined that provisions of the Agreement, including but not

      limited to the current compensation arrangement set forth in Section 4(a)

                                     Page 4 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 5 of 13




      (‘Compensation:Fees’), pose ‘a risk of violating’ federal and state laws and are

      therefore ‘subject to renegotiation’ as provided for in Section 18.” [Exhibit C].

      In that letter, Ropes & Gray, LLP, as counsel for HDL, acknowledged that both

      sides were to continue to perform their obligations under the contract.

17.   HDL did not attempt to renegotiate the contract. Instead, its counsel, Ropes &

      Gray, LLP, by an email of January 5, 2015, sent on behalf of HDL a proposed

      “HDL-Bluewave Mutual Termination Term Sheet Draft of January 5, 2015."

      The purpose behind sending that proposal was to allow HDL to terminate the

      Sales Agreement, convert the sales force assembled by BlueWave to HDL

      employees under the direction and control of HDL and allow HDL to keep

      BlueWave’s due and future payments for HDL’s own use. [Exh. D]. HDL

      gave BlueWave a deadline of less than twelve hours to respond to that email

      and termination proposal. HDL made no legitimate attempt to renegotiate the

      terms of the Contract that it claimed posed a risk of violating laws.

18.   During this time, HDL informed BlueWave that it was withholding payments

      due to BlueWave as part of a “negotiation tactic.” HDL further informed

      BlueWave that part of the reluctance in paying BlueWave was because

      Johnson and Dent were making more money than Joe McConnell, the President

      of HDL.

                                     Page 5 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 6 of 13




19.   HDL purportedly terminated the Sales Agreement by letter of January 9, 2015,

      to BlueWave. This was done less than four full days after HDL, through

      counsel, submitted the “HDL-Bluewave Mutual Termination Term Sheet Draft

      of January 5, 2015.” That termination notice is attached as Exhibit E.

                               COUNT ONE
                           BREACH OF CONTRACT

20.   Pursuant to the Contract, and as represented by HDL to BlueWave, BlueWave

      earned commissions from HDL, for BlueWave’s sales activities, that were due

      and payable by December 15, 2014 in the amount of, to-wit: $3,103,512.35.

      HDL has failed and refused, after demand, to make the contractually called for

      payment.

21.   Pursuant to the Contract, and as represented by HDL to BlueWave, BlueWave

      earned commissions from HDL, for BlueWave’s sales activities, that were due

      and payable by January 15, 2015 in the amount of, to-wit: $2,703,126.42.

      However, HDL has failed to pay BlueWave in accordance with the Contract.

22.   Pursuant to the Contract, it is believed and upon such belief averred that HDL

      owes BlueWave an additional amount of commissions for sales activities made

      in its territory, in excess of $19,000,000.00, for BlueWave’s sales activities,

      that are due and payable. However, HDL has failed to account therefore and



                                    Page 6 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 7 of 13




      informed BlueWave that it has no intention of making such payment as and

      when called for.

23.   HDL has breached the Contract in connection with the payments that are past

      due and has anticipatorily breached the Contract with BlueWave in connection

      with additional payments that will be due to BlueWave.

24.   In addition to the required but unpaid payments outlined above, HDL’s breach

      has resulted in BlueWave’s loss of approximately $3,000,000.00 in monthly

      compensation for the remaining months of its contract with HDL, for a total

      additional future loss of $180,000,000.00.

25.   HDL breached the Contract by failing and refusing to renegotiate the affected

      terms of the Contract. HDL’s only attempts at renegotiation were to offer

      terms upon which the Sales Agreement, separate and apart from the

      Shareholder’s Agreement, could be terminated. HDL further failed to perform

      its obligations in full during the renegotiation period.

26.   HDL has wilfully, intentionally and wrongfully breached the Contract by virtue

      of the above acts and practices, and by the submission of a “Sales Agreement

      Termination” dated January 9, 2015, in clear and direct violation of the

      Termination provisions contained in paragraph 7(b) of the Agreement.




                                     Page 7 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 8 of 13




27.   Despite its purported termination of the Sales Agreement, HDL filed suit

      against Johnson and Dent claiming that they had violated the Shareholders

      Agreement. That suit is attached as Exhibit F. In that Complaint, HDL falsely

      claimed that “Johnson and Dent . . . refused to engage in good faith on

      renegotiating the potentially non-compliant provisions of the Sales

      Agreement.” It was filed by the firms of LeClairRyan and Ropes & Gray, LLP

      on behalf of HDL. In that case, the United States District Court for the Eastern

      district of Virginia entered an injunction [Exhibit G] enjoining Johnson and

      Dent from taking certain actions.

28.   Having obtained judicial relief enforcing the Contract, HDL is judicially

      estopped from claiming that the Contract, or any portion thereof, is illegal or

      unenforceable.

      WHEREFORE, BlueWave demands judgment against HDL for all past

      due and future payments due to it under the Contract, interest, fees and

      costs for HDL’s failure to renegotiate the Contract and HDL’s failure to

      make payments due under the Contract.

                             COUNT TWO
                    OPEN ACCOUNT/ACCOUNT STATED




                                    Page 8 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 9 of 13




29.   BlueWave incorporates all of the above and foregoing averments and adds

      thereto the following:

30.   HDL owes BlueWave monies due by open account and/or by account stated.

      WHEREFORE, BlueWave demands judgment against HDL for monies

      due to it plus interest, fees and costs.

                             COUNT THREE
                          WORK AND LABOR DONE

31.   BlueWave incorporates all of the above and foregoing averments and adds

      thereto the following:

32.   HDL owes BlueWave for work and labor done for HDL by BlueWave, in part,

      within the State of Alabama and within the jurisdiction of this Court.

      WHEREFORE, BlueWave demands judgment against HDL for monies

      due to it plus interest, fees and costs.

                             COUNT FOUR
                        MONEY HAD AND RECEIVED

33.   BlueWave incorporates all of the above and foregoing averments and adds

      thereto the following:

34.   HDL owes BlueWave at least $24,806,638.77 for that portion of HDL’s

      receipts from or arising out of the sales activities of BlueWave, received by

      HDL but not paid to BlueWave.

                                    Page 9 of 13
           Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 10 of 13




       WHEREFORE, BlueWave demands judgment against HDL for monies

       due to it plus interest, fees and costs.

                              COUNT FIVE
                  UNJUST ENRICHMENT / QUANTUM MERUIT

35.    BlueWave incorporates all of the above and foregoing averments and adds

       thereto the following:

36.    BlueWave provided valuable services for the benefit of HDL.

37.    HDL accepted the services provided.

38.    HDL’s retention of the compensation to which BlueWave is entitled, is unjust

       and inequitable.

39.    BlueWave expected to be fully compensated for the work done by it as

       requested by HDL, at the time the services were rendered.

40.    This cause of action is filed pursuant to Ga.Code Ann. Section 9-2-7.1

41.    HDL owes BlueWave in quantum meruit representing the value of BlueWave’s

       services to HDL.

       WHEREFORE, BlueWave demands judgment against HDL for monies

       due to it plus interest, fees and costs.




       1
        As stated in Exhibit “A”, paragraph 17, the laws of the State of Georgia are to apply to
the claims asserted in this Complaint.

                                          Page 10 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 11 of 13




                               COUNT SIX
                         ACCEPTANCE OF SERVICES

42.   BlueWave incorporates all of the above and foregoing averments and adds

      thereto the following:

43.   HDL has materially benefitted from the services provided by BlueWave.

44.   HDL is not permitted to accept the valuable services of BlueWave and avoid

      payment for such services.

      WHEREFORE, BlueWave demands judgment against HDL for monies

      due to it plus interest, fees and costs.

                                 COUNT SEVEN
                                 ACCOUNTING

45.   BlueWave incorporates all of the above foregoing averments and adds thereto

      the following:

46.   Under the Agreement, HDL is responsible for ascertaining and reporting to

      BlueWave, the amount of revenue collected by it from sales in BlueWave’s

      territory, and make accurate calculations of the amount of commissions to

      which BlueWave is entitled.

47.   The records of HDL’s collections are solely within the possession of HDL.

48.   To date, HDL has failed to accurately report the revenue it has collected by it

      from sales in BlueWave’s territory.

                                    Page 11 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 12 of 13




49.   Because of the number and complexity of records related to the revenue

      collected by HDL for sales made in BlueWave’s territory, and because

      BlueWave has been provided no access thereto, a full, accurate and complete

      accounting of the revenues collected by HDL for all revenue HDL has

      collected or received for sales made in BlueWave’s territory, an accounting is

      required.

50.   The accounting is overly complex and there is no adequate remedy at law to

      obtain the information required to fully and accurately ascertain the total

      revenue received by HDL for sales made by BlueWave in its territory.

      WHEREFORE, BlueWave demands a full, accurate and complete

accounting of all revenue received or collected by HDL for sales made in

BlueWave’s territory, during the term of the Agreement at issue, and for such

other, further or different relief to which it may be entitled including any

appropriate reasonable fees and costs in the premises.



                                      Respectfully submitted,

                                      /s/ John Martin Galese
                                      John Martin Galese, ASB-5382-e61j
                                      John@galese-ingram.com




                                   Page 12 of 13
       Case 5:15-cv-00884-MHH Document 3 Filed 06/03/15 Page 13 of 13




                                      /s/ Jeffrey L. Ingram
                                      Jeffrey L. Ingram, ASB-9270-m74j
                                      Jeff@galese-ingram.com

                                      /s/ David Butler
                                      David Butler, ASB-0350-n92b
                                      David@galese-ingram.com
Of Counsel:

Galese & Ingram, P.C.
800 Shades Creek Parkway
Suite 300
Birmingham, Alabama 35209
(205) 870-0663
(205) 870-0681 - facsimile



                          CERTIFICATE OF SERVICE


      I hereby certify that I have served a copy of the above and foregoing pleading
upon all counsel of record in this cause on June 3, 2015.



                                      /s Jeffrey L. Ingram




                                   Page 13 of 13
